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                                                        February 1, 2021


Hon. Stacey L. Meisel, U.S.B.J.
Martin Luther King, Jr. Federal Building
United States Bankruptcy Court for the District of New Jersey
50 Walnut Street, 3rd Floor, Courtroom 3A
Newark, New Jersey 07102

    Re:        SITO Mobile Solutions, Inc. (Case No.: 20-21436-SLM) (Jointly Administered)

    Dear Judge Meisel:

            The undersigned represents Sito Mobile Solutions, Inc. (“Sito”) and the jointly administered
    debtors-in-possession (the “Debtors”) in the above chapter 11 bankruptcy case, commenced on October 8,
    2020 (the “Petition Date”). Please accept this letter supplement in lieu of a more formal application (the
    “Supplement”).

             On January 19th, Your Honor heard the Debtor’s motion to seal [Doc 91] the respective retention
    agreements for the Debtors’ proposed special counsel prosecuting the Debtors’ interests in multiple patent
    litigation. [Docs 89 and 90] At the hearing, Your Honor instructed the Debtors to file a supplement in
    support of the Debtors’ request addressing § 107(b) and certain caselaw concerning the Court’s authority
    to seal documents that otherwise require disclosure. Your Honor established a deadline for the Committee1
    or the United States Trustee (the “UST”) to object to the Debtor’s supplement and scheduled a hearing for
    February 9th.

            Since the hearing, the Debtor has consulted with its current and proposed professionals and has two
    developments to report. First, the Debtors are withdrawing both the Goldberg Retention [Doc 90] and the
    motion to seal (naturally, as to the now withdrawn Goldberg Retention, but also as to the Bernstein
    Retention). [Doc 91] Second, the Debtors, contemporaneously herewith, are filing the retention application
    for The Law Office of Bruce G. Bernstein PLLC as a supplement to the Bernstein Retention and are
    submitting to Your Honor’s Chambers (after soliciting review and comment from the Committee and the
    UST) a proposed revised order authorizing the Bernstein Retention with the changes detailed in this
    Supplement.

            Regarding the Bernstein Retention [Doc 89], the proposed order shall clarify that, consistent with
    the debtors’ supplement filed January 12th [Doc 111], the retention is subject to: (i) waiver of any right or
    request for expense reimbursement or payment of fees inconsistent with code sections requiring special


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        Capitalized terms not defined herein shall have the meaning attributed them in the related pleadings.
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 counsel to file the appropriate fee application and obtain court approval; and (ii) this Court’s retention of
 jurisdiction over disputes arising under the retention agreement (including waiver of the arbitration clause).

          Regarding the withdrawal of the Goldberg Retention [Doc 90], it has come to the Debtors’ attention
 that the entire practice group handling the Debtors’ patent litigation (including those professionals whose
 experience to handle these matters was referenced in the Goldberg Retention) is in the process of separating
 from Goldberg and is forming a new firm, Daignault Iyer LLP (“di Law”). Shortly, the Debtor will file a
 new retention application for di Law. The application will not be made subject to a request to seal the
 retainer agreement, which retainer agreement shall be substantially identical to the Goldberg retainer
 agreement previously provided to the UST and the Committee. To be clear, the retainer agreement with di
 Law shall provide for the same rights, obligations, and recovery to the Debtors.

          Consistent with the Bernstein Retention, the retention of di Law will be subject to: (i) waiver of
 any right or request for expense reimbursement or payment of fees inconsistent with code sections requiring
 special counsel to file the appropriate fee application and obtain court approval; and (ii) this Court’s
 retention of jurisdiction over disputes arising under the retention agreement (including waiver of any
 arbitration clause). That clarification will be included with the retention application when submitted.

         Based on the foregoing, as well as the Debtors’ having supplemented the Bernstein Retention with
 a copy of the Bernstein retainer agreement and withdrawn the motion to seal, the Debtor respectfully request
 Your Honor grant the Bernstein Retention, and direct the clerk to withdraw the Goldberg Retention [Doc
 90] and motion to seal. [Doc 91]

                                                            Respectfully submitted,

                                                            GENOVA BURNS LLC


                                                            DONALD W. CLARKE
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